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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  OXFORD DIVISION

ADRIAN HOYLE                                                                                       PLAINTIFF

VS.                                                  CIVIL ACTION NO.: 3:21-cv-00171-NBB-RP

CITY OF HERNANDO, MISSISSIPPI,
ET AL.                                                                                        DEFENDANTS

       MEMORANDUM IN SUPPORT OF MUNICIPAL DEFENDANTS’
MOTION FOR JUDGMENT ON THE PLEADINGS OR, IN THE ALTERNATIVE, FOR
                     SUMMARY JUDGMENT

         To say that Plaintiff Adrian Hoyle’s complaint1 is misleading would be an

understatement. Prior criminal proceedings and video evidence show that it is a total sham.

Nowhere in the complaint does Hoyle tell this Court that he stole a car, ran a stop light, led law

enforcement on an eight-minute chase, and stopped only after he lost control and rammed the

stolen car into two police vehicles. And nowhere in the complaint does Hoyle tell this Court that

he pled guilty to a felony in connection with these events. Courts have long warned counsel

about such a false depiction of the facts. See, e.g., In re Ronco, Inc., 838 F.2d 212, 218 (7th Cir.

1988) (explaining that the omission of “facts that [a]re highly relevant to an accurate

characterization of the facts” is a basis for Rule 11 sanctions).

         Municipal Defendants the City of Hernando, Chief Scott Worsham, and Officer Lynn

Brown should be dismissed from this case. The uncontroverted record shows that all of Hoyle’s

claims fail as a matter of law. This motion may be decided on the pleadings alone or, in the

alternative, converted into an early request for summary judgment.2


         1 An original complaint was filed on July 30, 2021, Doc. 1, but was later amended on August 26, 2021,
Doc. No. 8, meaning that the amended complaint is the operative complaint.
         2 Since Municipal Defendants have captioned their motion in the alternative, this Court is relieved of any
obligation to tell the parties how it will be considered in advance of a ruling being issued. See Mackey v. Owens,
182 F.3d 915 (5th Cir. 1999) (“[T]he simple act of placing matters outside the pleadings before the court provides
adequate notice that a motion to dismiss may be converted into a motion for summary judgment.”).


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                                             BACKGROUND

         On September 3, 2020, Officer Lynn Brown observed a blue Chevrolet Malibu run a red

light at a high rate of speed. Brown Dash Cam at 00:05-00:08, Doc. No. 10-1 (conventionally

filed); Guilty Plea Transcript, Doc. No. 10-2. Officer Brown activated his emergency lights and

attempted to stop the car.        Brown Dash Cam at 00:08-00:10, Doc. No. 10-1; Guilty Plea

Transcript, Doc. No. 10-2. The car did not stop and instead led officers on an eight-minute high

speed chase, all of which is captured on dash cam video. Brown Dash Cam at 00:10-7:58, Doc.

No. 10-1.

         During the chase, the car drove erratically, passed vehicles, drove on the wrong side of

the road, forced cars off the road, and nearly hit other cars. Id.; Guilty Plea Transcript, Doc. No.

10-2. Eventually it lost control and drove into a ditch. Brown Dash Cam at 7:58-8:01, Doc. No.

10-1. Even in the ditch the car refused to stop and instead attempted to get back on the road. Id.

In doing so, it hit both Officer Brown’s and Officer Solomon’s vehicles before finally stopping.

Id. at 8:01-8:08

         The driver of the car was Hoyle, who later admitted to stealing the Malibu in Memphis.

Id.; Memphis Incident Report, Doc. No. 10-3. As Hoyle exited the vehicle, Officer Brown

deployed his canine. Brown Dash Cam at 8:13-8:17, Doc. No. 10-1; Guilty Plea Transcript,

Doc. No. 10-2. Hoyle could be seen moving around in the vehicle prior to exiting. Brown Dash

Cam at 8:10-8:12, Doc. No. 10-1. The video shows that, from the time Hoyle’s hands emerge

from the vehicle until the time the canine engages Hoyle, approximately two seconds pass.

Brown Dash Cam at 8:15-8:17, Doc. No. 10-1. As the officers attempted to apprehend Hoyle,

Hoyle continued resisting. Id. at 8:19-9:00; Guilty Plea Transcript, Doc. No. 10-2.3 The officers

finally were able to secure Hoyle in handcuffs, and the canine was disengaged. Brown Dash

         3 Officer Solomon can be seen striking Hoyle as the officers were attempting to detain him. But Solomon
has not been sued in this case.

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Cam at 9:00-9:11, Doc. No. 10-1. Hoyle then was taken to the hospital for treatment and charged

with felony fleeing and possession of stolen property. Incident Report, Doc. No. 10-4; Injury

Photo, Doc. No. 10-6.         Two charges of assault on a law enforcement officer were later added.

See Notice of Criminal Disposition, Doc. No. 10-5.

          In June 2021, Hoyle entered into a plea bargain, in which he pled guilty to felony

fleeing in exchange for the other charges being remanded.4 Doc. No. 10-2 is the transcript from

Hoyle’s sentencing, inclusive of an accepted factual basis provided by the prosecution. Hoyle

was sentenced to 274 days’ time served, with the sentencing judge noting that Hoyle’s criminal

defense attorney, Victoria Washington, had “done a good job” on Hoyle’s behalf, apparently

doing “some fancy plea bargaining with the State.” Doc. No 10-2 at p.15.

         Less than a month after Hoyle was sentenced he sent a notice of claim to the City of

Hernando. Notice of Claim, Doc. No. 10-8. Then, 28 days later, he filed suit in this Court. Doc.

No. 1. The complaint was amended in August 2021. Doc. No. 8.

                                         STANDARD OF REVIEW

         The federal rules offer a number of ways to challenge a plaintiff’s case, including a

motion to dismiss under Rule 12(c) and a summary-judgment motion under Rule 56. Municipal

Defendants invoke both rules here.

         Under Rule 12(c), like Rule 12(b)(6), the central question is whether the complaint

includes claims that are plausible. Bell Atl. Co. v. Twombly, 550 U.S. 554, 555–62 (2007). This

question is answered by comparing the legal claims that have been identified in the complaint

with the factual allegations offered in support, inclusive of any exhibits attached to the complaint

and answer. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bosarge v. Miss. Bureau of Narcotics,

796 F.3d 435, 440 (5th Cir. 2015) (“In considering a motion for judgment on the pleadings


         4 It is unclear to undersigned counsel whether Hoyle was charged in Tennessee with the car theft.


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under Rule 12(c), the court is generally limited to the contents of the pleadings,

including attachments thereto. The ‘pleadings’ include the complaint[ and] answer to the

complaint[.]”); Housing Authority Risk Retention Group, Inc. v. Chicago Housing Authority, 378

F.3d 596, 600 (7th Cir. 2004) (“In a motion for judgment on the pleadings, the court considers

the pleadings alone, which consist of the complaint, the answer, and any written instruments

attached as exhibits.”). To be plausible, the Court must be able to draw a reasonable inference

that the defendants are liable for the misconduct alleged. Iqbal, 556 U.S. at 678. Merely reciting

the elements of a cause of action, or making conclusory factual or legal assertions, is insufficient

to defeat a motion to dismiss. Jordan v. Flexton, 729 F. App’x 282, 284 (5th Cir. 2018).

         Under Rule 56, the central question is whether the record evidence provides a viable

basis for relief as opposed to looking to the pleadings alone. Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 249 (1986). This question is answered by determining if there are genuine issues

of material fact, such that the moving party is entitled to judgment as a matter of law. FED. R.

CIV. P. 56(c). To avoid summary judgment, a plaintiff must produce evidence of “specific facts

showing the existence of a genuine issue for trial.” Foulston Siefkin LLP v. Wells Fargo Bank of

Texas, N.A., 465 F.3d 211, 214 (5th Cir. 2006). A factual issue is “material only if its resolution

could affect the outcome of the action,” Burrell v. Dr. Pepper/Seven Up Bottling Grp., 482 F.3d

408, 411 (5th Cir. 2007), and “conclusory allegations, speculation, and unsubstantiated assertions

are inadequate to satisfy the nonmovant’s burden in a motion for summary judgment,” Ramsey v.

Henderson, 286 F.3d 264, 269 (5th Cir. 2002) (quotation omitted).




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                                   ARGUMENT & AUTHORITIES

         The complaint includes claims under both federal and state law against the City5 and

Officer Brown. On the federal side, Hoyle refers to “civil rights violations[,]” specifically

unlawful seizure, excessive force, and violation of his due process rights. Doc. No. 8 at pp.6-7.

On the state side, Hoyle refers to negligent hiring, supervision, and retention as well as negligent

and/or intentional infliction of emotional distress. Id. at pp.14-15. Neither federal nor state law

provides any relief.6

                                                Federal Law

         Section 1983 is the procedural avenue Hoyle must take to pursue constitutional

violations, Escamilla v. Elliot, 816 F. App’x 919, 922-25 (5th Cir. 2020), and the governing legal

standards are settled.      Actions against municipalities are analyzed under a framework that

requires a plaintiff to show both (1) that a violation of the Constitution occurred and (2) that a

governmental policy or custom was the moving force behind the violation. Peterson v. City of

Fort Worth, Tex., 588 F.3d 838, 847 (5th Cir. 2009).                     Alternatively, individual-capacity

defendants enjoy qualified immunity, meaning that a plaintiff must show both (1) that a violation

of the Constitution occurred and (2) that the individual-capacity defendants’ acted objectively

unreasonable under clearly established law. Atteberry v. Nocona Gen. Hosp., 430 F.3d 245, 252-

53 (5th Cir. 2005).

         Hoyle’s claims are deficient in their totality. Most fundamentally, there can be no

liability against any defendant because Hoyle cannot prove a constitutional violation. Moreover,

even if Hoyle could make such a showing, there still would be no liability because he cannot

         5 Chief Scott Worsham is a named defendant, but only “in his official capacity as Chief of Police of the
Hernando Police Department[.]” Doc. No. 8 at p.1. Any claims against him are thus duplicative of the claims
against the City. See Castro Romero v. Becken, 256 F.3d 349, 355 (5th Cir. 2001).
         6 At pages five and six of the complaint, Hoyle includes a section entitled, “IV. SPOILATION OF
EVIDENCE[.]” Doc. No. 8 (emphasis in original). But “[s]poliation has been explicitly rejected as an independent
cause of action by the Mississippi Supreme Court.” Fikes v. Wal-Mart Stores, Inc., 813 F. Supp. 2d 815, 819 (N.D.
Miss. 2011). And federal law of course does not provide an independent cause of action for spoliation.

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establish a basis for Monell liability against the City or objectively unreasonable conduct under

clearly established law against Officer Brown.

         No Constitutional Violation. Hoyle claims that Officer Brown violated his Fourth and

Fourteenth7 Amendment rights by arresting him and using excessive force on him with a canine.

Doc. No. 8 at p.3, p.7. These charges are meritless.

         No Unlawful Arrest. Hoyle was arrested on September 3, 2020 and charged with felony

fleeing, possession of stolen property, and two charges of assault on a law enforcement officer.

Notice of Criminal Disposition, Doc. No. 10-5. In June 2021, he pled guilty to felony fleeing,

and the other charges were remanded. Id.; Guilty Plea Transcript, Ex. 10-2.

         The unlawful arrest claim is frivolous given the guilty plea. Significantly, to demonstrate

a Fourth Amendment violation, Hoyle would have to prove that he was arrested without probable

cause. Bryant v. City of Ripley, 2015 WL 1419489, *1 (N.D. Miss. 2015) (Biggers, J.). That is

impossible here because, under the doctrine of Heck v. Humphrey, 512 U.S. 477, 486-87 (1994),

Section 1983 may not be used to undermine a prior criminal conviction. Hoyle’s conviction

conclusively establishes the existence of probable cause, which in turn defeats his unlawful arrest

claim. See Bryant, 2015 WL 1419489 at *1 (“[A] criminal conviction necessarily implies that

probable cause existed for that particular charge, and by extension, the arrest for that charge.”).

         But even without the conviction, there was plenty of probable cause to arrest Hoyle.

“Probable cause for a warrantless arrest exists when the totality of facts and circumstances within


         7 Though Hoyle’s complaint references the Fourteenth Amendment, see Doc. No. 8 at p.7, allegations of
unlawful arrest and excessive force by an arrestee must be brought under the Fourth Amendment, i.e. the more
explicit constitutional source. See, e.g., Harness v. Hosemann, No. 3:17-cv-791-DPJ-FKB, 2019 WL 8113392, *12
n.7 (S.D. Miss. Aug. 7, 2019) (“In Graham v. Connor, the United States Supreme Court held that claims related to
search-and-seizure violations fall under the Fourth Amendment rather than the substantive-due-process provisions
found in the Fourteenth Amendment.”). But even if that were not so, Hoyle would be required to demonstrate
“conscience shocking” behavior for purposes of a due-process claim. That standard “is extremely high, requiring
stunning evidence of arbitrariness and caprice[.]” Doe ex rel. Magee v. Covington County Sch. Dist. ex rel. Keys,
675 F.3d 849, 867 (5th Cir. 2012). “[F]orcibly pumping [a] criminal suspect’s stomach” is the type of behavior that
might suffice, e.g. GEFT Outdoors, LLC v. City of Westfield, 922 F.3d 357, 368 (7th Cir. 2019), not arresting
someone and releasing a canine after flight.

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a police officer’s knowledge at the moment of the arrest are sufficient for a reasonable person to

conclude that the suspect had committed or was committing an offense.” Carr v. Hoover, 837 F.

App’x 279, 283 (5th Cir. 2020) (quotations and citation omitted). At the time of Hoyle’s arrest,

it was apparent to law enforcement that Hoyle ran a red light, fled from police, and hit two police

cruisers with the car he was driving. See generally Brown Dash Cam Video, Doc. No. 10-1;

Guilty Plea Transcript, Doc. No. 10-2.

         No Excessive Force. Hoyle also claims that Officer Brown subjected him to excessive

force in the course of the arrest. Specifically, he claims that Officer Brown unlawfully released

his canine when the chase ended.8 The law is clear that canine bites are subject to a Fourth

Amendment excessive-force analysis. See, e.g., Shumpert v. City of Tupelo, 905 F.3d 310, 321-

23 (5th Cir. 2018).

         To bring a § 1983 excessive force claim, a plaintiff must show that he suffered an injury

that resulted from force that was excessive to the need, i.e. “objectively unreasonable.” See

Flores v. City of Palacios, 381 F.3d 391, 396 (5th Cir. 2004). Importantly, not every exertion of

force that may in hindsight seem unnecessary violates the Constitution. See Jackson v.

Gautreaux, 3 F.4th 182, 186 (5th Cir. 2021). Excessive force claims must be considered from

the viewpoint “of a reasonable officer on the scene[,]” and courts should not “second-guess[ ] a

police officer’s assessment . . . of the danger presented by a particular situation.” Id. (quoted

cases omitted).

         In this case, Hoyle blatantly mischaracterizes the events of September 3, 2020. His

complaint omits that he stole a vehicle, ran a red light, and took law enforcement on an eight-

minute pursuit at a high rate of speed, only stopping after he lost control and struck two police

         8 While the complaint generally alleges that Officer Brown “physically attack[ed] and assault[ed]” him,
Doc. No. 8 at p.4, the video evidence proves this allegation to be false. The only officer who physically struck
Hoyle was Officer Solomon, who has not been named as a defendant. As will be discussed, Hoyle is not permitted
to allege things that contradict the video.

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vehicles. Compare Doc. No. 8 with Brown Dash Cam Video, Doc. No. 10-1, and Guilty Plea

Transcript, Doc. No. 10-2. The complaint instead portrays the events as Hoyle “compl[ying]

with all of the officers’ commands with his hands above his head clearly visible and gesturing

submission and surrender, and . . . in no way resisting when Officer Brown deployed his

assigned Hernando Police Department K-9 to attack [him] when he was completely defenseless

and compliant.” Doc. No. 8 at p.4. Hoyle’s mistruths – although concerning from a duty-of-

candor standpoint – are immaterial for purposes of this motion for two reasons.

         First is his guilty plea, in which he admitted to the following factual basis provided by the

prosecution:

         (1) that he “operated [a] motor vehicle in a reckless manner with willful disregard
         for the safety of persons or property or in a manner manifesting extreme
         indifference to the value of human life[,]” specifically driving “at a high rate of
         speed” in an “erratic” manner, “passing vehicles, driving on the wrong side of the
         road, [and] forcing cars off the roadway nearly hitting other vehicles[;]” (2) that
         he “refuse[d] to bring [a] motor vehicle to a stop after being given a visible or
         audible signal [b]y Officer Lynn Brown . . . who had reasonable suspicion to
         believe that [Hoyle] had committed a crime[;]” (3) that he “well kn[ew] that
         Officer Lynn Brown was in fact a law enforcement officer acting within the scope
         of his duty[;]” (4) that he eventually “lost control, [ ] ran off the road[,]” and,
         when “officers tried to box him in[,]” he struck “both officers[’] . . . vehicles”
         before “finally c[oming] to a stop[;]” and (5) that the “the officers deployed a K9
         to apprehend the suspect fearing [Hoyle] may have a weapon.”

Guilty Plea Transcript, Doc. No. 10-2 at pp.8-9. In light of Hoyle’s acceptance of these facts to

secure a plea bargain, he may not now rely on a different version of events in this civil case. See

United States v. Union Treatment Ctrs., LLC, 2019 WL 571349, *6 (W.D. Tex. 2019)

(“Craighead is collaterally estopped from re-litigating his conviction or controverting the factual

basis for the plea agreement.”); see also Kuar v. Mawn, 2011 WL 838911, at *6 (E.D.N.Y. Mar.

4, 2011) (“[U]nder the doctrine of judicial estoppel, the Court will preclude plaintiff from taking




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factual positions in this case which are directly contrary to statements that he made in connection

with his plea and that were adopted by the court which accepted his plea[.]”).9

         Second is the dashcam video, which Hoyle also is not permitted to contradict. See

Hernandez v. Town of Gilbert, 989 F.3d 739, 745 (9th Cir. 2021) (While the plaintiff “claims

that the duration of Murphy’s bite was unreasonable because he had surrendered[,] [t]he video

belies his argument.”).10 In this vein, the video’s conclusive depiction of Hoyle’s flight is

significant. See, e.g., Hogan v. Cunningham, 722 F.3d 725, 734 (5th Cir. 2013) (explaining that,

in excessive force cases, courts must consider whether the arrestee actively resisted or attempted

to evade the arrest).

         In other canine cases where plaintiffs have resisted, the Fifth Circuit has made clear that

it is not constitutionally excessive to release a canine to effectuate the arrest. See, e.g., Hinson v.

Martin, 853 F. App’x 926, 931 (5th Cir. 2021) (“It was objectively reasonable for Martin to

deploy Rex to conclude Hinson’s evasion. Hinson has therefore failed to establish that Martin

violated his Fourth Amendment rights by using Rex to apprehend him, and the district court

erred by denying Martin summary judgment based on qualified immunity as to Hinson’s claims

insofar as they are based on the initial dog bite that brought him to the ground.”). And such

holdings are consistent with rulings in other jurisdictions. See, e.g., Hernandez, 989 F.3d at 744

(affirming summary judgment in canine excessive force case, where “[t]he evidence [wa]s

undisputed that Hernandez fled from Officer Robinson and tried to lock himself inside his garage

to avoid being arrested”). The rationale undergirding these cases is threefold: that (1) canine

         9 See further Garcia v. Greco, 2010 WL 446446, *6 (S.D.N.Y. 2010) (explaining that plaintiff claiming
excessive force who pled guilty to attempted assault of a police officer, after “having obtained the benefits of a
favorable plea by making sworn admissions in open court . . . cannot now also claim to be the passive victim as
depicted in his deposition”); Perlleshi v. Cty. of Westchester, 2000 WL 554294, *5–6 (S.D.N.Y. 2000) (explaining
that plaintiff who pled guilty to resisting arrest was judicially estopped from contradicting the factual basis for the
plea in a subsequent excessive-force proceeding).
          10 The rule that video evidence cannot be contradicted comes from the Supreme Court’s decision in Scott v.
Harris, 550 U.S. 372, 381 (2007). See also Rich v. Palko, 920 F.3d 288, 293 n.3 (5th Cir. 2019); Shepherd v. City of
Shreveport, 920 F.3d 278, 283 (5th Cir. 2019).

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deployment is a justified use of force to combat felony crimes; (2) canine deployment is justified

in detaining a fleeing suspect; and (3) it is reasonable for an officer to treat a fleeing suspect as

armed and dangerous. See Hinson, 853 F. App’x at 930-33; Hernandez, 989 F.3d at 744-47.

         The bottom line is that Officer Brown’s release of the canine after Hoyle (1) stole a car,

(2) ran from police for eight minutes, (3) displayed a blatant disregard for human life, and (4)

could be seen moving around in the vehicle prior to exiting was not excessive. See generally

Brown Dash Cam, Doc. No. 10-1; Guilty Plea Transcript, Doc. No. 10-2. It was instead a

justified action “of a reasonable officer on the scene” that should not be “second-guessed]” in

light “of the danger presented by a particular situation.” See Jackson, 3 F.4th at 186.

         Qualified Immunity. Even if Hoyle could demonstrate a constitutional violation against

Officer Brown, he still would be entitled to dismissal on qualified immunity grounds. Indeed,

when qualified immunity is asserted, “it is not enough for [p]laintiff[s] to adequately demonstrate

constitutional violations.” Franco v. Kluge, 2015 WL 1637688, *4 (W.D. Tex. 2015).

         Officers are entitled to qualified immunity unless (1) they violated a federal statutory or

constitutional right, and (2) the unlawfulness of their conduct was “clearly established at the

time.” District of Columbia v. Wesby, 138 S. Ct. 577, 589-90 (2018) (citing Reichle v. Howards,

566 U.S. 658, 664 (2012)). “Clearly established” means that, at the time of the officer’s conduct,

the law was “‘sufficiently clear’ that every ‘reasonable official would understand that what he is

doing’” is unlawful. Id. (citation omitted). In other words, existing law must have placed the

constitutionality of the officer’s conduct “beyond debate.” Id. This demanding standard protects

“all but the plainly incompetent or those who knowingly violate the law.” Id.

         Framework. Hoyle shoulders the burden of defeating qualified immunity. Cunningham

v. Castloo, 983 F.3d 185, 191 (5th Cir. 2020). To do so, he has two options: (1) proffer a

precedential case that “squarely governs” the conduct at issue, i.e. “the analogous-case


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requirement” or (2) demonstrate the conduct at issue is an “obvious” case of unconstitutional

behavior, i.e. the “obvious” exception. Cope v. Cogdill, 3 F. 4th 198, 204-12 (5th Cir. 2021).

         This case certainly does not implicate the very rare “obviousness” exception, for “[t]he

standard for obviousness is sky high[.]” See Joseph v. Bartlett, 981 F.3d 319, 337 (5th Cir.

2020). Both Hoyle’s unlawful arrest and excessive force claims contain a “reasonableness”

analysis, and, in such circumstances, the Supreme Court has warned that proffering an analogous

case is “especially important[.]” See Mullenix v. Luna, 136 S. Ct. 305, 308 (2015). Unless every

single reasonable officer on the street would know “in the blink of an eye” that his or her conduct

is unconstitutional because of the authoritative precedent, then qualified immunity must be

granted. Morrow v. Meachum, 917 F.3d 870, 876 (5th Cir. 2019); Morgan v. Swanson, 659 F.3d

359, 371 (5th Cir. 2011) (quoting Supreme Court precedent). This requires a high “degree of

specificity.” Wesby, 133 S. Ct. at 590 (citation omitted). The Supreme Court has “repeatedly

stressed that courts must not “define clearly established law at a high level of generality, since

doing so avoids the crucial question whether the official acted reasonably in the particular

circumstances that he or she faced.” Id. This principle reflects a “manifestation of the law’s

general concern about retroactive punishment or liability.” Wesby v. District of Columbia, 816

F.3d 96, 110 (D.C. Cir. 2016) (Kavanaugh, J., dissenting) (citing Supreme Court precedent).

         Application of the Qualified Immunity Framework. Applying these standards to this case,

there is no governing authority holding that Officer Brown acted objectively unreasonable under

clearly established law. The preceding discussion explains why Hoyle’s arrest was lawful both

because of his conviction and because there was probable cause to arrest, but, for purposes of

qualified immunity, mere “arguable probable cause” is all that was required. See Wesby, 138 S.

Ct. at 591 (“Even assuming the officers lacked actual probable cause to arrest [ ], the officers are

entitled to qualified immunity because they ‘reasonably but mistakenly conclude[d] that probable


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cause [wa]s present.’”). Similarly, for purposes of the excessive force claim, Officer Brown was

only required to have a reasonable – even if mistaken – belief that deploying his canine was

justified. See Anderson v. Creighton, 483 U.S. 635, 641 (1987) (qualified immunity protects

reasonable, though mistaken, judgments by law enforcement).

         In sum, the Fifth Circuit has reiterated that “[t]he qualified-immunity doctrine makes”

obtaining “money damages from the personal pocket of a law enforcement officer” “difficult in

every case.” See Morrow, 917 F.3d at 874. In that same opinion, the Fifth Circuit explained that

qualified immunity presented a “heavy burden” for plaintiffs and that the denial of qualified

immunity is an “extraordinary remedy.”          Id. at 874-76. Since Hoyle will not be able to

demonstrate that Officer Brown acted objectively unreasonably under clearly established law, he

is at minimum entitled to qualified immunity.

         No Municipal Liability. It is well established that, “[w]ithout an underlying

constitutional violation, an essential element of municipal liability is missing.” Doe ex rel.

Magee v. Covington Cty. Sch. Dist. ex rel. Magee, 675 F.3d 849, 867 (5th Cir. 2012). Because

Hoyle cannot demonstrate a constitutional violation, there necessarily can be no municipal

liability. Id.

         But even if Hoyle could demonstrate a constitutional violation, a mere violation is never

enough, since municipalities are not vicariously responsible for the actions or inactions of their

employees. See Piotrowski v. City of Houston, 237 F.3d 567, 578 (5th Cir. 2001). There instead

must be “something more” to impose liability on a municipality, i.e. a demonstration that the

constitutional violation occurred because of a municipal policy or custom. Id. Hoyle has not

identified an express policy that he believes is unconstitutional, nor has he identified a




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widespread pattern of similar instances11 that could give rise to an unofficial municipal custom.

See Connick v. Thompson, 563 U.S. 51, 61 (2011) (explaining that an unofficial custom must be

“so persistent and widespread as to practically have the force of law”); see Peterson v. City of

Fort Worth, Tex., 588 F.3d 838, 850-51 (5th Cir. 2009) (explaining that, under the “demanding”

unofficial custom theory, a plaintiff must identify “sufficiently numerous prior incidents” and

those prior incidents must be both similar and specific to the alleged violation in question). He

instead anchors his case on alleged inadequate training and supposed ratification of Officer

Brown’s actions. Both are addressed in turn.

         Inadequate Training. Such a theory is meritless on these facts. For failure-to-train

liability to attach, a municipal policymaker must have been deliberately indifferent, and the

deliberate indifference must have “actually caused” Hoyle’s constitutional rights to have been

violated. See, e.g., Brown v. Callahan, 623 F.3d 249, 253-54 (5th Cir. 2010). Hoyle’s theory

fails under both requirements.

         Policymaker Deliberate Indifference. For starters, Hoyle asserts that Chief Worsham is

the policymaker. Doc. No. 8 at ¶3. But policymakers are defined by state law, Groden v. City of

Dallas, 826 F.3d 280, 284 (5th Cir. 2016), and, in Mississippi, the board of aldermen is the final

policymaker. See Riggins v. City of Indianola, 196 F. Supp. 3d 681, 691-92 (N.D. Miss. 2016).

Hoyle’s municipal liability theory is a non-starter for the simple reason that the complaint does

not articulate anything specific that the board supposedly did wrong.




         11 In the complaint, Hoyle discusses Judge Mills’ opinion in Cooper v. Brown, 156 F. Supp. 3d 818 (N.D.
Miss. 2016). But a single prior incident, even involving the same officer, falls far short of the required “widespread
practice” necessary to create Monell liability under the unofficial custom theory. See, e.g., Brown v. Bryan Cty., 219
F.3d 450, 457 (5th Cir. 2000); see also Peterson v. City of Fort Worth, Tex., 588 F.3d 838, 850 (5th Cir. 2009) (27
excessive force complaints in three-year period insufficient to create a fact dispute); Pineda v. City of Houston, 291
F.3d 325, 329 (5th Cir. 2002) (11 incidents insufficient to create a fact dispute); Hamilton v. Rodgers, 791 F.2d 439,
443 (5th Cir. 1986) (12 incidents in two and a half years insufficient to create a fact dispute), abrogated on other
grounds by 913 F.2d 226 (5th Cir. 1990)). Plus, as discussed, this Court need not even reach the policy/custom
inquiry because Officer Brown’s conduct did not violate the Constitution.

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         But there of course is no deliberate indifference in any event. Deliberate indifference is

“an extremely high standard” in the context of individuals, see Domino v. Tex. Dep’t of Crim.

Justice, 239 F.3d 752, 756 (5th Cir. 2001), and is even more “stringent” when it comes to a

governmental entity. See Connick v. Thompson, 563 U.S. 51, 62 (2011). To put the standard in

context, the Supreme Court has never found governmental liability based on a failure-to-train

theory. See Pena v. City of Rio Grande City, 879 F.3d 613, 624 (5th Cir. 2018). Perhaps that is

because, as Judge Easterbrook recently reminded, “the Constitution does not require training” or

“require every municipality to implement current understandings of best practices[.]” See J.K.J.

v. Polk Cty., 960 F.3d 367, 386 (7th Cir. 2020) (Easterbrook, J., dissenting in part). Quite

differently, “[t]he duty is to avoid unconstitutional policies.” Id.

         There is no argument here that the City’s written policies are unconstitutional. Hoyle’s

position instead is that the City should have had things in place to better monitor officer

behavior. Doc. No. 8 at p.12. But this theory of liability fails because there is no constitutional

requirement that a city have such measures in place. All that is required is that a city not have an

unconstitutional policy, for best practices are not the standard. See J.K.J., 960 F.3d at 386-87

(Easterbrook, J., dissenting in part).

         It is settled that a pattern of similar incidents is “ordinarily necessary”12 to succeed in a

failure-to-train case. See Bd. of Bryan Cty. Comm’rs v. Brown, 520 U.S. 397, 409 (1997).

Underscoring this rule is Sanders-Burns v. City of Plano, 594 F.3d 366, 382 (5th Cir. 2010),

where no deliberate indifference could be found since the plaintiff “fail[ed] to allege another



         12 Hoyle has not invoked the extremely rare single incident exception of municipal liability. But even if he
had, it has no application to this case. The exception “is generally reserved for those cases in which the government
actor was provided no training whatsoever.” Pena, 879 F.3d at 624. It is undeniable that training was provided
here. What’s more is that, even in situations where no training is provided, a plaintiff must show that the specific
injury in question was the “highly predictable consequence” of the failure to train. See Hutcheson v. Dallas Cty.,
Tex., 994 F.3d 477, 482 (5th Cir. 2021). Hoyle has not attempted to set forth facts supporting that standard, and the
evidence would not support it anyway.

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death similar to the one suffered by her son[.]” Hoyle has pled no facts alleging a widespread

number of prior incidents that would satisfy the requirement.

         Significantly, Officer Brown was certified under Mississippi law. See Brown

Certification, Doc. No. 10-7. The Fifth Circuit “has held that[,] if the training of police officers

meets state standards, there can be no cause of action for a failure to train absent a showing that

‘this legal minimum of training was inadequate to enable [the officers] to deal with the ‘usual

and recurring situations’ faced by jailers and peace officers.” O’Neal v. City of San Antonio, 344

F. App’x 885, 888 (5th Cir. 2009). And courts have long held that Mississippi’s police academy

includes sufficient training to defeat a failure-to-train theory. See, e.g., Estate of Pernell v. City

of Columbus, 2010 WL 1737638, *6 (N.D. Miss. 2010) (rejecting denial-of-medical-care claim

based on failure-to-train, where “both Officers attended and graduated from the Mississippi law

enforcement academy and [were] certified law enforcement officers”). Hoyle simply cannot

prevail on a failure to train theory where, as here, Officer Brown was trained under state

standards.

         Causation.   But there is still another obstacle to Hoyle’s attempt to hold the City

responsible. Even if he had adequately alleged that the City failed to train Officer Brown, there

has to be sufficient causation proof. See Bd. of Bryan Cty. Comm’rs, 520 U.S. at 415. The

Supreme Court has ordered courts to apply a “rigorous” causation standard, id., and application

of that standard presents a question of law. See Ratliff v. Aransas Cty., Tex., 948 F. 3d 281, 285

(5th Cir. 2020). Hoyle has not pled facts showing that the alleged inadequate training “actually

caused” his alleged injuries.

         Ratification. Nor does Hoyle provide any meaningful explanation in support of his

contention that this case constitutes one of the “extreme factual situations” in which a ratification

theory would be applicable. See World Wide Street Preachers Fellowship v. Town of Columbia,


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591 F.3d 747, 755 (5th Cir. 2009) (quoting Peterson, 588 F.3d at 848). At most, Hoyle seems to

complain that the City did not discipline Officer Brown. Doc. No. 8 at p.7. But such a

contention is a red herring, for ratification does not result just because city officials defend an

officer’s behavior. See, e.g., Medina v. Ortiz, 623 F. App’x 695, 701 (5th Cir. 2015) (“The only

evidence of ratification Medina identifies is that Ortiz accepted the officer’s use of force report,

refused to turn over evidence until the lawsuit was filed, and defends the deputies’ actions in this

case. None of these allegations show that Ortiz approved of the use of excessive force or the

denial of medical care.”) (citation omitted).

         What’s more is that, like with the failure-to-train theory, Hoyle shoulders the burden of

causation. Nothing in the complaint remotely suggests that a supposed ratification of prior bad

behavior is what led to Hoyle’s supposed injury. See Aguirre v. City of San Antonio, 995 F.3d

395, 422 (5th Cir. 2021) (rejecting ratification theory, where “the Plaintiffs ma[de] no attempt to

demonstrate, as is also required, that this alleged custom was ‘the moving force behind the

claimed constitutional violation’”).

                                                ****

         There is no basis for liability under federal law for numerous reasons, including (1) lack

of a constitutional violation, (2) qualified immunity, and (3) failure to establish the requirements

under Monell. All claims and defendants should be dismissed.

                                              State Law

         Pages   14    and    15   of   the     complaint   reference   “common      law    claims,”

specifically (1) negligent hiring, supervision, and retention; (2) negligent infliction of emotional

distress; and (3) intentional infliction of emotional distress. “The Mississippi Tort Claims Act

(MTCA) provides the exclusive civil remedy against a governmental entity or its employee for




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acts or omissions which give rise to a suit.” C.W. and J.A. v. McComb Separate Municipal

School District, 754 So. 2d 1136, 1138 (Miss. 1999).

         As an initial matter, Hoyle appears to misunderstand the MTCA. Although the MTCA is

the statutory vehicle for “any tort claim filed against a governmental entity or its employee[,]”

that does not mean that both the governmental entity and governmental employees can be liable.

Duncan v. Chamblee, 757 So. 2d 946, 949 (Miss. 1999) (emphasis added). Individuals, on the

one hand, can never be personally liable “for acts or omissions within the course and scope of

their employment.” Cotton v. Paschall, 782 So. 2d 1215, 1217 (Miss. 2001) (citing Miss. Code

§ 11-46-7). On the other hand, municipalities may be liable for an individual’s acts or omissions

but only if no exemption applies and only if a plaintiff can establish all of the substantive

elements of the state-law claim being pursued. See Grimes v. Pearl River Valley Water Supply,

930 F.2d 441, 443 (5th Cir. 1991). This means that plaintiffs must “pick a horse” or, as Chief

Judge Jordan recently put it, plaintiffs cannot “have the best of both worlds[.]” See Hawkins v.

City of Lexington, No. 3:19cv606-DPJ-FKB at Doc. No. 71, pp.12-13 (S.D. Miss. July 9, 2021)

(“So either the officers acted within the course and scope of their employment—in which case

there are no individual-capacity claims—or they acted outside the course and scope of their

employment, in which case the City of Lexington maintains sovereign immunity.”).

         Although Hoyle’s complaint does not distinguish between the City and Officer Brown at

pages 14 and 15, it is clear that the claims are aimed at the City. This is so for two reasons.

First, Hoyle sent a MTCA notice, something that would not be required if he was suing Officer

Brown for conduct outside the course and scope of his employment. See Springer v. Ausbern

Constr. Co., 231 So. 3d 980, 989 (Miss. 2017). Second, the complaint expressly states at page

three that Officer Brown was “within the course and scope of his employment with the Hernando




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Police Department[,]” which means that he is personally immune under Mississippi Code § 11-

46-7.13

          Having clarified the proper defendant, the next consideration is the governing legal

standards. Hoyle’s state-law claims fail for both procedural and substantive reasons.

          Procedural Problem. Hoyle sent a notice of claim on July 2, 2021 and then filed suit on

July 30, 2021. Compare Notice of Claim, Doc. No. 10-8 with Doc. No. 1. But under Mississippi

Code § 11-46-11(1), a notice of claim “must” be filed “at least ninety (90) days before instituting

suit.” Since the complaint was filed a mere 28 days beforehand, Hoyle violated the MTCA’s

exhaustion requirement and must be dismissed.

          The Mississippi Supreme Court has made clear that the notice requirement is “a ‘hard-

edged, mandatory rule which the Court strictly enforces.’” Univ. of Miss. Med. Ctr. v. Easterling,

928 So. 2d 815, 820 (Miss. 2006) (holding that plaintiff had not complied with the MTCA’s

notice requirement where she sent her notice of claim four months after filing suit) (quoting Ivy

v. GMAC, 612 So. 2d 1108, 1116 (Miss. 1992)). Substantial compliance with the 90-day

requirement does not suffice. See Mathews v. City of Booneville, 2020 WL 2615912, *8 (N.D.

Miss. May 22, 2020). “No action whatsoever may be maintained by the claimant until the

claimant receives a notice of denial of claim or the tolling period expires[.]” Miss. Code § 11-46-

11(3)(b) (emphasis added). “Since the MTCA’s passage in 1993, a considerable amount of time

has passed for the legal profession to become aware of the ninety-day notice requirement in

section 11-46-11(1).” Univ. Miss. Med. Ctr., 928 So. 2d at 820.

          Substantive Problems. Procedural issues aside, Hoyle’s state law claims are exempted

under the MTCA. An MTCA “exemption, like that of qualified or absolute immunity, is an


          13 Hoyle is also estopped from arguing otherwise since, in his guilty plea, he admitted that Officer Brown
was acting “within the scope of his duty” during the incident. See Guilty Plea Transcript at p. 8, Doc. No. 10-2;
Kuar, 2011 WL 838911, at *6.

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entitlement not to stand trial rather than a mere defense to liability and, therefore, should be

resolved at the earliest possible stage of litigation.” McElroy v. City of Brandon, 198 So. 3d 373,

378 (Miss. Ct. App. 2015). Immunity “is a question of law[,]” meaning that it is properly

addressed by motion. Id.

         Under Mississippi Code § 11-46-9(1)(c), there is immunity “[a]rising out of any act or

omission of an employee of a governmental entity engaged in the performance or execution of

duties or activities relating to police or fire protection unless the employee acted in reckless

disregard of the safety and well-being of any person not engaged in criminal activity at the time

of injury.” This exemption applies here for two separate reasons: (1) Hoyle was engaged in

criminal conduct and (2) Officer Brown’s conduct does not amount to “reckless disregard.”

         To begin, it is undisputed that Hoyle pled guilty to felony fleeing and had his assault and

possession charges remanded as part of plea deal.           This criminal behavior automatically

precludes him from state-law relief. See Irwin-Giles v. Panola Cty., 253 So. 3d 922, 930 (Miss.

Ct. App. 2021) (“[W]e hold that a claim is barred under section 11-46-9(1)(c) if there is a causal

‘nexus between the criminal activity of the injured party and the injury suffered by him.’”)

(cleaned up).

         What’s more is that, “in the absence of criminal activity on the part of the victim, the

police protection exemption still applies unless the act or omission complained of evinces a

‘reckless disregard of the safety and well-being’ of others[.]” Chapman v. City of Quitman, 954

So. 2d 468, 474 (Miss. 2007) (citation omitted) (emphasis original). “In the context of section

11-46-9(1)(c), ‘reckless disregard’ encompasses willful and wanton action.” Titus v. Williams,

844 So. 2d 459, 468 (Miss. 2003) (citation omitted). Reckless disregard presents a question of

law, see City of Vicksburg v. Williams, 294 So. 3d 599, 602 (Miss. 2020), and the Mississippi

Supreme Court has recognized that, by imposing a reckless disregard standard, “the Legislature


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set an extremely high bar for plaintiffs” to meet. City of Jackson v. Presley, 40 So. 3d 520, 523

(Miss. 2010) (emphasis added).

         There is no evidence of reckless disregard here. Quite the contrary, the officers arrested

Hoyle and utilized force only after he stole a car, ran a red light, fled for nearly 10 minutes, and

smashed into two police cruisers. This is not the stuff of “reckless disregard.”

                                        Punitive Damages

         Hoyle seeks punitive damages against all defendants. See Doc. No. 8 at pp.16-19.

Because the City and the individual defendants in their official capacities are immune from such

damages, Hoyle’s claim for punitive damages must be dismissed, even if any claims could

survive. See, e.g., Newport v. Fact Concerts, 453 U.S. 247, 271 (1981) (a municipality is

immune from punitive damages under 42 U.S.C. § 1983); Mitchell v. City of New Orleans, 184

F. Supp. 3d 360, 378 (E.D. La. 2016) (“[A]lthough punitive damages can be assessed against an

individual defendant sued in his individual capacity, punitive damages may not be levied against

defendants in their official capacities.”); Miss. Code § 11-46-15(2) (“No judgment against a

governmental entity or its employee for any act or omission for which immunity is waived under

this chapter shall include an award for exemplary or punitive damages[.]”).

                                         CONCLUSION

         This Section 1983 case, which includes supplemental state-law claims, is meritless. All

claims and defendants should be dismissed under Rule 12(c) or, alternatively, under Rule 56.

Hoyle should have presented this Court with the real facts. He did not do so because he knew

they were meritless.

         Dated: September 14, 2021.




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                                RESPECTFULLY SUBMITTED,

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                                 CERTIFICATE OF SERVICE

         I certify that, on September 14, 2021, I had a copy of this document electronically filed

with the Clerk of the Court, using the CM/ECF system, which sent notification of such filing to

all counsel of record.



                                              /s/ G. Todd Butler
                                              G. TODD BUTLER




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